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                                                                                   6 County, Indiana
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STATE OF INDIANA               )                     IN THE ALLEN SUPERIOR COURT
                               ) SS:
COUNTY OF ALLEN                )                     CAUSE NO.

DION M. BOYD,                                        )
                                                     )
              Plaintiff,                             )
                                                     )
      v.                                             )
                                                     )
IVY TECH COMMUNITY COLLEGE                           )
                                                     )
              Defendants.                            )

                                         COMPLAINT

      Comes now Plaintiff, by counsel, and alleges against the Defendants as follow:

      1. The Plaintiff is Dion M. Boyd, an African American/black resident of Allen County,

           state of Indiana.

      2. The Defendant is Ivy Tech Community College, an institution of higher learning in the

           state of Indiana, which and has several locations throughout the state, including one at

           3800 North Anthony Blvd, Fort Wayne, Indiana 46805. At all material times to this

           Complaint, the Defendant was an “employer for the purposes of Title VII of the Civil

           Rights Act of 1964, 42 U.S.C.§ 2000 ( e) et seq. (Title VII), 42 U.S.C. § 1981, the

           Family Medical Leave Act of 1993, 29 U.S.C § 2601 et seq (“FMLA”), her age (born

           10/09/1979 – 41 years old at the time of her constructive discharge) in violation of Age

           Discrimination and Employment Act of 1967, 29 U.S.C. § 621 et seq (“ADEA”), the

           Family Medical Leave Act of 1993, 29 U.S.C § 2601 et seq (“FMLA”) and the Age

           Discrimination and Employment Act of 1967, 29 U.S.C. § 621 et seq (“ADEA”).

      3. The Plaintiff filed a Charge of Discrimination, EEOC No. 470-2021-03646 on October


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        12, 2021, a copy of which is attached hereto, incorporated herein made a part hereof as

        Exhibit “A”. The EEOC issued a Determination and Notice of Rights/ Notice of Right

        to Sue on June 14, 2022, a copy of which is attached hereto and made a part hereof as

        Exhibit “B”.    All required administrative remedies have been exhausted and all

        jurisdictional prerequisites have been met for the filing of this lawsuit. This Complaint

        has been filed within 90 days after receipt of the Determination and Notice of Rights/

        Notice of Right to Sue.

     4. Plaintiff alleges that she was discriminated against, retaliated against, and

        constructively discharged on account of her race and color (African American/Black),

        her disabilities (anxiety, depression, high blood pressure, along with and other serious

        health conditions), her age (58 years old), and her use of use of medical leave coverable

        by the FMLA, and for protesting discriminatory treatment she suffered due to her

        race/color, disability/perceived disability, age, and need for FMLA, as discussed in

        further detail in the attached Charge of Discrimination (Ex. A).

     5. Plaintiff alleges that she was discriminated against on the basis of her age and that

        substantially younger individuals including those under age 40, had their medical

        leave/Covid leave more easily approved than the Plaintiff and other older employees

        did.

     6. The Plaintiff alleges race and color discrimination based upon the facts set forth in her

        Charge of Discrimination (Ex. A). As a black/African American individual, the

        Plaintiff faced more rigorous scrutiny than similarly situated Caucasian and non-

        black/non-African American workers, regarding receipt of ADA accommodations and


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        FMLA medical leave.        Plaintiff for example, was written up and punished for

        engaging in the interactive process under the ADA and for requesting FMLA medical

        leave, which violated the Plaintiff’s rights guaranteed her under Title VII and 42 U.S.C.

        § 1981.

     7. The Defendant also denied Plaintiffs requests for reasonable accommodations for her

        disability/disabilities. The Defendant forced to the Plaintiff work in close quarters

        with students and coworkers whom were diagnosed with Covid; this considerably

        heightened and exacerbated the Plaintiff’s symptoms from her anxiety, depression, and

        blood pressure, and substantially impaired her abilities to socialize and work (which

        were also major life activities). Defendant did not allow Plaintiff the reasonable

        accommodation of continued work from home, even though Plaintiff’s Caucasian

        coworkers were permitted that accommodation.

     8. Plaintiff also contends that she was treated differently than similarly situated

        Caucasians and non-black/ non-African American employees and those without

        disabilities/perceived disabilities/ records of impairment, in that Plaintiff was denied

        the same terms, benefits, and conditions of employment as them.

     9. The Plaintiff was not provided any help or direction from the Defendant, as to her need

        for medical leave, for which Plaintiff entitled under the FMLA. Nor was she provided

        any interactive process or accommodations which should have been made available to

        her under the ADA. Similarly situated Caucasians that lacked a disability, and also

        employees that were substantially younger than the Plaintiff, were allowed

        accommodations and given directions for receiving accommodations and medical leave


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        under the ADA/FMLA.

     10. The Plaintiff’s efforts to obtain reasonable accommodations under the ADA and leave

        under the FMLA were so thwarted and mishandled by Defendant (and its employees

        and agents), that the conditions of Plaintiff’s employment with Defendant became so

        hellish and impossible, that Plaintiff lost her position.        This further frustrated

        Plaintiff’s attempts to obtain FMLA leave she was entitled to receive. All of this

        exacerbated the Plaintiff’s health conditions/disabilities and contributed to such pain,

        suffering, and anxiety, that eventually Plaintiff was ultimately forced to resign in order

        to maintain her health and sanity, on or about October 28, 2021, in spite of her 18 years

        of devotion to her career.

     11. Instead of granting Plaintiff the accommodations she requested under the ADA and/or

        FMLA, the Defendant retaliated against the Plaintiff by assessing her for alleged

        unexcused absences and imposing against her write ups- which was unjustified poor

        treatment by the Defendant’s HR Department, contributing to further needless anxiety,

        tension, and emotional distress for the Plaintiff. When the Plaintiff continued to

        protest against the manner in which her requests for ADA accommodations and FMLA

        Medical Leave were being handled, her health deteriorated because of the Defendant’s

        constant retaliation and discrimination.

     12. Defendant’s complained of discriminatory and /or retaliatory conduct, and termination

        by constructive discharge, occurred on the basis of the Plaintiff’s color/race

        (black/African American), disability/perceived disability/record of impairment, her age

        (over 40), her sex, and/or assertion of her rights under the FMLA, all in violation of


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            Title VII, § 1981, the ADA, the ADEA, and/or FMLA; the complained of conduct of

            the Defendant furthermore was the direct and proximate cause of the Plaintiff suffering

            the loss of her job and job related benefits including income, and additionally subjected

            the Plaintiff to inconvenience, as well as causing her to suffer needless and continued

            emotional distress, mental anguish, humiliation, embarrassment, financial distress, and

            other damages and injuries for which she seeks compensatory damages.

        13. Furthermore, Plaintiff was falsely accused of wrongdoing that she had not engaged in,

            even though Defendant’s allegations were unsubstantiated and unproven.

        14. The complained of discriminatory and/or retaliatory actions of the Defendant were

            intentional, knowing, willful, wanton, deliberately indifferent to, and in reckless

            disregard of the Plaintiff’s federally protected rights under Title VII, § 1981, the ADA,

            the ADEA, and/or FMLA. Imposition of punitive damages (available under Title VII,

            § 1981, the ADA) as well as liquidated damages (available under the FMLA and

            ADEA) is appropriate.

            WHEREFORE, Plaintiff by counsel, prays for judgment against the Defendant, for

        pecuniary damages, compensatory damages, punitive damages (where available),

        liquidated damages(where available), reasonable attorney’s fees and cost, and for all other

        just and proper relief in the premises.

                                       JURY DEMAND

        Pursuant to Rule 38 of the Indiana Rules of Trial Procedure, Plaintiff demands a trial by

jury in this action.




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                                         Respectfully submitted,

                                         MYERS SMITH WALLACE, LLP



                                         /s/ Christopher C Myers___

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